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        Case 3:13-cr-03482-BTM                Document 207          Filed 09/29/14              I
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                     UNITED STATES DISTRICT
                   SOUTHERN DISTRICT OF CALIF0«rIA i
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UNITED STATES OF AMERICA,       I                   "~." "",.,,,,,.._,\,,,,[;; I'
                                     Case No. 13cr3482-BTM

                                                     Plaintiff,
                                 vs.
                                                                         JUDGMENT OF DISMISSAL
HAROUT GEVORGYAN [2],

                                                  Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

              an indictment has been filed in another case against the defendant and the Court has
o             granted the motion of the Government for dismissal ofthis case, without prejudice; or

o             the Court has dismissed the case for unnecessary delay; or

IXl   \c-r"
              the Court has granted the motion of the Government for dismissal, without prejudice; or

o             the Court has granted the motion of the defendant for a judgment of acquittal; or

o             a jury has been waived, and the Court has found the defendant not guilty; or

o             the jury has returned its verdict, finding the defendant not guilty;

IXl           of the offense(s) as charged in the Indictment/Information:
              18:1349; 18:982(a)(2) - Conspiracy; Criminal Forfeiture; 18:1028A; 18:982(a)(2) - Aggravated Identity Theft;
              Criminal Forfeiture




Dated:            9~1 /2014
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                                                                   Barry
                                                                    Hon.       Tea !VIO
                                                                    United States District Judge
